          8:05-cr-00083-RFR-MDN                Doc # 105       Filed: 04/05/06        Page 1 of 1 - Page ID # 361
                                       UNITED STATES DISTRICT COURT
                                                DISTRICT OF NEBRASKA
                                                OFFICE OF THE CLERK                                                     Lincoln Office:
                                           Roman L. Hruska United States Courthouse                             Denney Federal Bldg.
Denise M. Lucks                                111 South 18th Plaza, Suite 1152                             100 Centennial Mall North
Clerk of Court                                     Omaha, NE 68102-1322                                                     Room 593
                                                        402-661-7350                                         Lincoln, NE 68508-3803
M. Therese Bollerup                                  Fax: 402-661-7387                                                  402- 437-5225
Chief Deputy Clerk                                Toll Free: 866-220-4381                                          Fax: 402- 437-5651
                                                   www.ned.uscourts.gov                                       Toll Free: 866-220-4379

          TO:              The Honorable Smith Camp

          FROM:            Clerk, U.S. District Court
                           Jane Fischer

          DATE:            April 5, 2006

          SUBJECT:         8:05CR83 USA V. BONNIE S. TIMLICK

          A party, who has already been permitted to proceed in forma pauperis, or who is financially unable to obtain
          adequate defense in a criminal case, has filed a Notice of Appeal. Pursuant to the third paragraph of FRAP
          24(a), a party may proceed on appeal in forma pauperis without further authorization unless the district judge
          certifies that the appeal is not taken in good faith or finds that the party is otherwise not entitled to proceed
          on appeal in forma pauperis. The district judge shall state in writing the reasons for such a certification or
          finding.

          In order for the Clerk’s office to process this appeal, please advise our office how you intend to proceed:

                      X    No order will be entered in this direct criminal appeal, and the party is permitted to
                           proceed on appeal in forma pauperis.
                           An order will be entered finding that the party is not entitled to proceed in forma
                           pauperis.
                           An order will be entered, and the party is permitted to proceed on appeal in forma
                           pauperis.
                           An order will be entered in this § 2254 or § 2255 case regarding Certificate of
                           Appealability.

          Dated this 5th day of April, 2006.

                                                                  s/Laurie Smith Camp
                                                                  United States District Judge


                                    Additional Requirement for State Habeas or 2255 Cases

          Pursuant to Rule 22(b) of the Rules of Appellate Procedure and 28 U.S.C. § 2253 (c), the district judge who
          rendered the judgment shall either issue a certificate of appealability or state the reasons why such a
          certificate should not be issued.

          Transmission of the Notice of Appeal to the Court of Appeals will be delayed until this court rules on the in
          forma pauperis status and the certificate of appealability.


          Last Update: 07/10/2003                                                k:\clerk\proc\appeals\forms\habnotifp.wpd
